         Case 1:16-cv-08364-KMW Document 63 Filed 09/10/18 Page 1 of 2



                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


ANNE DE LACOUR, ANDREA                     Civil Action No. 1:16-CV-08364 (RA)
WRIGHT, and LOREE MORAN
individually and on behalf of all others   PLAINTIFFS’ NOTICE OF MOTION
similarly situated,                        FOR CLASS CERTIFICATION,
                                           APPOINTMENT OF CLASS
                            Plaintiffs,    REPRESENTATIVES, AND
                                           APPOINTMENT OF CLASS COUNSEL
       v.

COLGATE-PALMOLIVE CO., and
TOM’S OF MAINE INC.

                            Defendants.



TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

       PLEASE TAKE NOTICE that, upon the Declaration of Neal J. Deckant, the

Declaration of Colin Weir, the Declaration of J. Michael Dennis, the Declaration of Anne de

Lacour, the Declaration of Loree Moran, the Declaration of Andrea Wright, the exhibits attached

thereto, and the accompanying Memorandum of Law, Plaintiffs hereby move before the

Honorable Ronnie Abrams for an Order, pursuant to Rule 23(b)(3) and Rule 23(b)(2) to: (i) “all

persons in the United States who purchased Tom’s of Maine deodorant and/or toothpaste

products (“Tom’s Products” or the “Products”) on or after September 24, 2015” (the “Class”);

(ii) certify a subclass of Class members who purchased in New York (the “New York Subclass”),

(iii) certify a subclass of Class members who purchased in California (the “California Subclass”),

(iv) certify a subclass of Class members who purchased in Florida (the “Florida Subclass”), (v)

appoint Anne de Lacour, Loree Moran, and Andrea Wright as representatives of the Class; and

(vi) appoint Plaintiffs’ counsel, Bursor & Fisher, P.A., as Class Counsel. Plaintiffs hereby

request oral argument on the instant motion.
        Case 1:16-cv-08364-KMW Document 63 Filed 09/10/18 Page 2 of 2



Dated: June 15, 2018                  Respectfully submitted,

                                      BURSOR & FISHER, P.A.

                                      By:      /s/ Neal J. Deckant
                                                   Neal J. Deckant

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